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                                                                                      U.S. DiSTRICT COURT
                                                                                     DISTRICT OF VERMONT
                                                                                             FILED
                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF VERMONT                          2011 FEB 23 PH 3: 27
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MyWebGrocer, Inc.                                )
                                                 )      Civil Action No.
         Plaintiff                               )
                                                 )      FIRST AMENDED COMPLAINT FOR
                  v.                             )      DECLARATORY JUDGMENT AND
                                                 )      VIOLATION OF CONSUMER
                                                 )      PROTECTION ACT
Adlife Marketing &                               )
Communications Co., Inc ..                       )
                                                 )      DEMAND FOR JURY TRIAL
         Defendant                               )


                                 COMPLAINT AND JURY DEMAND

         PlaintiffMyWebGrocer, Inc. ("MyWebGrocer"), for its Complaint against Defendant

Adlife Marketing & Communications Co., Inc. ("Adlife") alleges as follows:

                                            Nature of Action

         1.            MyWebGrocer seeks a declaratory judgment that MyWebGrocer and its

customers are not liable to Adlife for infringement of copyright law and, in the alternative,

declaration of appropriate copyright remedies under the U.S. Copyright Act, 17 U.S.C. § 106; a

preliminary and permanent injunction under the Vermont Consumer Protection Act, 9 V.S.A.

§2451, et seq. enjoining Adlife from engaging in unfair and deceptive trade practices; and an

award of damages, attorneys' fees and costs.

                                                 Parties

         2.            PlaintiffMyWebGrocer is a corporation organized and existing under the laws

of Vermont, with a principal place of business at 20 Winooski Falls Way, Winooski, Vermont

05404.

         3.            Defendant Adlife is a Rhode Island corporation with a principal place of
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business at 38 Church St., Pawtucket, Rhode Island.

                                    Jurisdiction and Venue

       4.         The Court has jurisdiction under the Federal Declaratory Judgments Act, 28

U.S.C. §§ 2201 and 2202 and under the laws of the United States concerning actions relating to

copyright, 28 U.S.C. § 1338(a).

       5.         This Court has supplemental jurisdiction of the count based on Vermont law

pursuant to 28 U.S.C. § 1367(a).

       6.         Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

       7.         This Court has personal jurisdiction over Adlife because Adlife conducts

business transactions in this State. Adlife also solicited a copyright license agreement with

MyWebGrocer in this State.

                                              Facts

       8.         MyWebGrocer creates digital platforms for grocery stores, including

developing, hosting, maintaining and optimizing e-commerce websites.

       9.         The websites that MyWebGrocer develops for its retailer customers frequently

use photographs of prepared food, which it licenses from various parties.

       10.        One such image used by MyWebGrocer depicted a prepared plate of brisket

with roasted vegetables (the "Brisket Photograph").

       11.        On or about July 21,2016, one ofMyWebGrocer's customers received three

Copyright Infringement Notices ("Notices") regarding the Brisket Photograph, each attaching an

"Invoice" in the amount of$8,000 for "Willful Photography Copyright Infringement." Copies of

these Notices, which were forwarded to MyWebGrocer, are attached as Exhibit A.

        12.       Upon receiving the Notices, MyWebGrocer researched the Brisket Photograph.



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This research revealed that MyWebGrocer had likely obtained rights in the Brisket Photograph

as a result of an acquisition of certain business assets from a company called NeXpansion, Inc. in

2003.

        13.       On August 19, 2016, MyWebGrocer conveyed this to Adlife via email and

asked for evidence supporting Adlife's claim of ownership of the Brisket Photograph. On the

same day, MyWebGrocer took the Brisket Photograph down pending a resolution of the dispute.

        14.       On September 9, 2016, Adlife claimed ownership of Copyright Registration

No. VA0002012581, which is a group registration dated August 5, 2016 for 135 photographs

created in 1999, without proof that said registration actually covered the Brisket Photograph in

question.

        15.       On September 14, 2016, having still not received adequate proof of ownership

in the form a Copyright Registration Certificate and a copy of the corresponding deposit material

submitted to the U.S. Copyright Office, MyWebGrocer sent a letter reiterating its request for

such proof. MyWebGrocer also asked for a list of all licenses granted between 1999-2003 for

the photograph, so it could try to determine where NeXpansion, Inc. may have obtained the

image. A copy of this letter is attached as Exhibit B.

        16.       Adlife responded on September 14, 2016, claiming it had provided "copyright

information" to MyWebGrocer already, and stating that it was "processing further instances" of

infringement. Adlife threatened to contact MyWebGrocer customers directly ifMyWebGrocer

did not "work with" Adlife. Adlife did not respond to MyWebGrocer's request for information

about licenses it had granted for the Brisket Photograph or the additional images now at issue.

        17.       On September 16, 2016, through counsel, MyWebGrocer reiterated its request

for information needed to assess the validity of Adlife's copyright infringement claim, including



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the Certificate of Registration together with the deposit material included in the underlying

copyright application and a list oflicensees. MyWebGrocer also asked for a complete list of

images Adlife believes MyWebGrocer has infringed or is currently infringing.

       18.        On September 19,2016, during a call with MyWebGrocer's counsel, Adlife

agreed to provide MyWebGrocer with the Certificate of Registration, together with the deposit

material, for each photo it believed MyWebGrocer has used without permission or license.

       19.        On or about September 19,2016, unbeknownst to MyWebGrocer, a second

MyWebGrocer customer received a Copyright Infringement Notice ("Second Notice") regarding

an image of a tuna salad sandwich (the "Tuna Sandwich Photograph"), and attaching an

"Invoice" in the amount of $8,000 for "Willful Photography Copyright Infringement." A copy

ofthe Second Notice, which was later forwarded to MyWebGrocer, is attached as Exhibit C.

       20.        On November 1, 2016, Adlife sent counsel for MyWebGrocer three additional

images alleged to be owned by Adlife and allegedly used without permission or license,

specifically: an image of a turkey and ham wrap (the "Turkey Wrap Photograph"), an image of a

prepared sausage and pasta dish (the "Sausage Pasta Photograph"), and an image of pork ribs

(the "Pork Rib Photograph"). These images together with the Brisket Photograph and the Tuna

Sandwich Photograph are collectively referred to as the "Accused Images."

        21.       On November 2, counsel for MyWebGrocer requested that Adlife provide

Certificates of Registration and corresponding deposit materials for each of the Accused Images.

Counsel for MyWebGrocer also reiterated the request for the licensing information pertaining to

the Accused Images. MyWebGrocer explained that this information was needed to research the

source of the images.

        22.       Although further correspondence was exchanged, the negotiations reached an



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impasse when Adlife insisted that MyWebGrocer make a damages payment of$7,500 and enter

into a license going forward with Adlife covering all of Adlife's prepared foods images database,

for a minimum term of 36 months at a cost of $999 per month.

       23.        MyWebGrocer estimates that it could pay $10 per image, if not significantly

less ("Market Value"), for a perpetual license for each of the Accused Images.

       24.        On November 8, following the breakdown in negotiations, Adlife stated in an

email to counsel for MyWebGrocer that the file would be turned over to "Jack Pirizzollo of

Sidley Austin," who would handle the case, and further stated that "this is likely to become

something much larger very quickly." A redacted copy of this email correspondence exchange is

attached as Exhibit D.

       25.        On November 18, Adlife sent an email to counsel for MyWebGrocer stating

that it "is clear to Adlife now these images are now and always were without proper licensing."

Adlife further stated that it would pursue the willful infringement claims individually one retailer

at a time." A redacted copy of this email correspondence exchange is attached as Exhibit E.

       26.        Also on November 18, in response to Adlife's threats to sue MyWebGrocer

and its customers for willful copyright infringement, MyWebGrocer filed its complaint seeking a

declaration of noninfringement or, in the alternative, a declaration of appropriate copyright

remedies.

       27.        Since filing the complaint, MyWebGrocer has continued to research the source

of the Accused Images. On or around November 23, MyWebGrocer contacted iStock to

determine whether it may have licensed use of any of the Accused Images to NeXpansion prior

to 2003.

       28.        On November 28, iStock informed MyWebGrocer that it had located licenses



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to two of the images, the Brisket Photograph and the Tuna Sandwich Photograph. These images

did not appear in MyWebGrocer's iStock download history. It was not until MyWebGrocer

contacted iStock's customer service department that it was able to locate perpetual licenses to

two of the Accused Images.

       29.        On December 1, MyWebGrocer informed Adlife, through counsel, that it had

proof that it had acquired perpetual licenses from iStock to two of the Accused Images.

MyWebGrocer asked again for a list of every licensee to whom Adlife had licensed the other

three photographs.

       30.        On December 12, Adlife provided copyright registration certificates and

corresponding deposit materials for the Accused Images. Adlife did not respond to

MyWebGrocer's request for information about its licensees.

       31.        On December 13, MyWebGrocer provided proof to Adlife pertaining to the

iStock licenses for the Brisket Photograph and the Tuna Sandwich Photograph. MyWebGrocer

also reiterated its request for a list of all parties to whom Adlife has licensed its photographs.

       32.        On February 6, Adlife informed MyWebGrocer for the first time, as part of its

response to MyWebGrocer's complaint, that it has "in the past" provided its images to iStock as

well as to another entity now known as Creative Outlet.

       33.        On information and belief, Adlife tracks the use by third parties of images it

allegedly owns using a computerized image matching system, and sends a copyright

infringement notice along with an "Invoice" to any third party it discovers using its photographs.

On information and belief, these notices are substantially the same in form and content to the

notices attached as Exhibits A and C (hereinafter, "Adlife Invoices").

        34.       On information and belief, the Adlife Invoices state that the $8,000 is "due on



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receipt" to Adlife for "Willful Photography Copyright Infringement." The cover letter

accompanying the Adlife Invoices state that the "sole purpose" of any conversation with Adlife

regarding the invoice "will be limited to why this is not a willful infraction and/or how the

individual or company intends to pay this amount." The Adlife Invoices do not request that

recipients identify any applicable licenses, or otherwise inform them that they may not be liable

for copyright infringement if the photographs were used under a valid license.

       35.        On information and belief, Adlife intentionally concealed the fact that it has

licensed its images in the past, including to iStock. Not only was there no mention of a potential

license in any of the Adlife Invoices sent to MyWebGrocer's customers, Adlife failed to provide

this information in response to MyWebGrocer's specific requests, the first of which was made on

September 14,2016.

       36.        On information and belief, Adlife is aware that when MyWebGrocer and other

recipients of Adlife Invoices search their iStock download history, proofs of purchase for Adlife

images will not appear because the images have since been deleted from iStock.

       37.        On information and belief, Adlife sends Adlife Invoices to any party not

identified as having an Adlife license in its system with the knowledge that a large number of

recipients likely own valid licenses to the image from iStock or other third parties.

       38.        The above allegations are incorporated in the claims below.

                                        COUNT I
                     Declaratory Judgment of No Copyright Infringement

       39.        MyWebGrocer has a reasonable apprehension of suit by Adlife alleging

copyright infringement.

       40.        There is a substantial and continuing justiciable controversy between

MyWebGrocer and Adlife as to Adlife's right to threaten or maintain suit for infringement of the


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Accused Images by Adlife or its customers, as to the validity, enforceability and scope of the

alleged copyright in the Accused Images, and to whether the Accused Images as used by

MyWebGrocer or its customers infringes any valid and enforceable rights owned by Adlife.

       41.        Upon information and belief, the Accused Images as used by MyWebGrocer

do not infringe any valid and enforceable copyright owned by Adlife.

       42.        In the alternative, ifMyWebGrocer's use ofthe Accused Images does infringe

any copyright owned by Adlife, MyWebGrocer's use was not willful and remedies for such use

should not exceed Market Value.

       43.        The Court should issue a declaratory judgment stating that Adlife is without

right or authority to threaten or to maintain suit against MyWebGrocer or its customers for

alleged copyright infringement, that no valid and enforceable copyright is infringed by

MyWebGrocer or its customers based on its use of the Accused Images, or if infringement is

found, it was not willful and any remedy should not exceed Market Value.

                                          COUNT II
                           Violation of Consumer Protection Statute

       44.        The Vermont Consumer Protection Statute, 9 V.S.A. §2451, et seq. (the

"VCPA") declares in § 2453 that "unfair or deceptive acts or practices in commerce" are

unlawful.

       45.        MyWebGrocer is a "consumer" as that term is used in the VCPA.

       46.        Adlife is a "seller" of "goods" and/or "services" in commerce, as those terms

are used in the VCP A.

       47.        Adlife's practice ofutilizing a computerized image matching system to send

invoices demanding payment of $8,000 for "willful" copyright infringement, with the knowledge

that a large number of recipients likely own valid licenses to use the images, while intentionally


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omitting this fact from the Adlife Invoices and/or intentionally withholding information

regarding previous licenses to iStock and other third parties during subsequent communications

regarding payment ofthe invoices, constitutes an unfair or deceptive act or practice in

commerce.

       48.       Adlife's misrepresentations, intentional practices and/or omissions as set forth

were likely to mislead MyWebGrocer and similarly situated consumers, and did mislead

MyWebGrocer.

       49.        MyWebGrocer interpreted the Adlife Invoices and Adlife's subsequent

communications regarding payment reasonably under the circumstances.

       50.        Adlife's misrepresentations, intentional practices and/or omissions were likely

to affect MyWebGrocer and any reasonable consumer's conduct and decisions with regard to

responding to Adlife Invoices and did affect those decisions, to MyWebGrocer's detriment and

damage.

       51.        Adlife's unfair and deceptive practices have caused actual damage to

MyWebGrocer, including by requiring it to expend time and money to investigate and respond to

the Adlife Invoices it received, and by damaging and/or threatening to damage its reputation with

its customers.

       52.        Adlife's unfair and deceptive practices have damaged other individuals and

businesses similarly situated to MyWebGrocer who received Adlife Invoices and/or similar

demands from Adlife.

       53.        Unless enjoined, Adlife's unfair and deceptive practices will damage other

individuals and businesses who receive Adlife Invoices and/or similar demands from Adlife.




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                                    PRAYER FOR RELIEF

        WHEREFORE, MyWebGrocer prays for relief as follows:

        1)     Entry of judgment that Adlife is without right or authority to threaten or to

maintain suit against MyWebGrocer or its customers for alleged copyright infringement and that

no valid and enforceable copyright is infringed by MyWebGrocer or its customers based on its

use of the Accused Images, or if infringement is found, it was not willful and any remedy should

not exceed Market Value per Accused Image found to be infringed;

        2)     Entry of a preliminary and permanent injunction enjoining Adlife, its officers,

agents, servants, employees, and attorneys, and those persons in active concert or participation

with Adlife from threatening MyWebGrocer or any of its agents, servants, employees, or

customers with infringement litigation or charging any of them either verbally or in writing with

copyright infringement;

        3)     Entry of a preliminary and permanent injunction enjoining Adlife, its officers,

agents, servants, employees, and attorneys, and those persons in active concert or participation

with Adlife from engaging in the unfair and deceptive practices alleged herein, including but not

limited to sending Adlife Invoices or similar notices;

        4)     Entry of judgment for Statutory Damages under the VCPA;

        5)     Entry of judgment for costs and reasonable attorney fees incurred by

MyWebGrocer; and

        6)     Such other and further relief as the Court may deem appropriate.

                                        JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by

JUry.



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         Dated at Burlington, Vermont this 23 day of February, 2017 .




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